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                                                                                 U.S.D.C. - Atlanta


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                   I L                                                      KEVIN P. WEIMER, Clerk

                          GUILTY PLEA and PLEA AGREEME~T~                                  DeputyCle rl!
United States Atto rney
Northe rn District of Georgia




                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION
                                 CRIMINAL NO. 1:24-CR-00371-SDG
      The United States Attorney for the Northern District of Georgia, the Fraud

Section of the Criminal Division of the U.S. Department of Justice (collectively,
"the Government"), and Defendant Elchonon ("Elie") Schwartz enter into this

plea agreement as set forth below in Part IV pursuant to Rules ll(c)(l)(A) & (B)
of the Federal Rules of Criminal Procedure. Elchonon ("Elie") Schwartz,

Defendant, having received a copy of the above-numbered Information and

having been arraigned, hereby pleads GUILTY to the Information.

                                   I. ADMISSION OF GUILT

1.           The Defendant admits that he is pleading guilty because he is in fact guilty
             of the crime charged in the Information.

                          II. ACKNOWLEDGMENT & WAIVER OF RIGHTS

2.           The Defendant understands that by pleading guilty, he is giving up the

             right to plead not guilty and the right to be tried by a jury. At a trial, the
             Defendant would have the right to an attorney, and if the Defendant could

             not afford an attorney, the Court would appoint one to represent the

             Defendant at trial and at every stage of the proceedings. During the trial,

             the Defendant would be presumed innocent and the Government would

             have the burden of proving him guilty beyond a reasonable doubt. The

             Defendant would have the right to confront and cross-examine the
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       witnesses against him. If the Defendant wished, he could testify on his

       own behalf and present evidence in his defense, and he could subpoena

       witnesses to testify on his behalf. If, however, the Defendant did not wish
       to testify, that fact could not be used against him, and the Government
       could not compel him to incriminate himself. If the Defendant were found

       guilty after a trial, he would have the right to appeal the conviction.
3.     The Defendant understands that by pleading guilty, he is giving up all of

       these rights and there will not be a h·ial of any kind.

4.     By pleading guilty, the Defendant also gives up any and all rights to
       pursue any affirmative defenses, Fourth Amendment or Fifth Amendment
       claims, and other pretrial motions that have been filed or could have been
       filed.
5.     The Defendant also understands that he ordinarily would have the right to

       appeal his sentence and, under some circumstances, to attack the

       conviction and sentence in post-conviction proceedings. By entering this
       Plea Agreement, the Defendant may be waiving some or all of those rights
       to appeal and to collaterally attack his conviction and sentence, as
       specified below.
6.     Finally, the Defendant understands that, to plead guilty, he may have to

       answer, under oath, questions posed to him by the Court concerning the

       rights that he is giving up and the facts of this case, and the Defendant's

       answers, if untruthful, may later be used against him in a prosecution for

       perjury or false statements.


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               III.   ACKNOWLEDGMENT OF PENALTIES

7.     The Defendant understands that, based on his plea of guilty, he will be

       subject to the following maximum and mandatory minimum penalties:

As to the sole charge in the Information - Wire Fraud (18 U.S.C. § 1343)

          a. Maximum term of imprisonment: 20 years.

          b. Mandatory minimum term of imprisonment: None.

          c. Term of supervised release: 0 years to 3 years.

          d. Maximum fine: $250,000.00, or twice the gross gain or twice the

             gross loss, whichever is greatest, due and payable immediately.

          e. Full restitution, due and payable immediately, to all victims of the

             offense(s) and relevant conduct.

          f. Mandatory special assessment: $100.00, due and payable

             immediately.

          g. Forfeiture of any and all proceeds from the commission of the

             offense, any and all property used or intended to be used to facilitate

             the offense, and any property involved in the offense.

8.     The Defendant understands that, before imposing sentence in this case, the

       Court will be required to consider, among other factors, the provisions of
       the United States Sentencing Guidelines and that, under certain

       circumstances, the Court has the discretion to depart from those

       Guidelines. The Defendant further understands that the Court may impose

       a sentence up to and including the statutory maximum as set forth in the



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        above paragraph and that no one can predict his exact sentence at this

        time.

9.      REMOVAL FROM THE UNITED STATES: The Defendant recognizes that

        pleading guilty may have consequences with respect to his immigration

        status if he is not a citizen of the United States. Under federal law, a broad

        range of crimes are removable offenses, including the offense to which the
        Defendant is pleading guilty. Indeed, because the Defendant is pleading

        guilty to this offense, removal is presumptively mandatory. Removal and

        other immigration consequences are the subject of a separate proceeding,

        however, and the Defendant understands that no one, including his

        attorney or the District Court, can predict to a certainty the effect of his
        conviction on his immigration status. The Defendant nevertheless affirms

        that he wants to plead guilty regardless of any immigration consequences

        that his plea may entail, even if the consequence is his automatic removal
        from the United States.

                             IV.    PLEA AGREEMENT

10.     The Defendant, his counsel, and the Government, subject to approval by
        the Court, have agreed upon a negotiated plea in this case, the terms of
        which are as follows:

                                No Additional Charges

11.     The United States Attorney for the Northern District of Georgia, and the

        Fraud Section of the Criminal Division of the U.S. Department of Justice,

        agree not to bring further criminal charges against the Defendant related to


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        the charges to which he is pleading guilty. The Defendant understands

        that this provision does not bar prosecution by any other federal, state, or

        local jurisdiction.

                                        Factual Basis

12.     The parties agree that if this case went to trial, the Government would

        prove by admissible evidence and beyond reasonable doubt the following
        facts:
           a. At all relevant times, the Defendant ran a commercial real estate

                 investment firm and invested in commercial real estate through a
                 group of companies organized under The Nightingale Group LLC
                 (operating as Nightingale Properties) ("Nightingale"). Nightingale
                 was a privately-held commercial real estate investment firm
                 controlled and co-founded by the Defendant who served as its chief

                 executive officer.
           b. Beginning in approximately May 2022, the Defendant solicited
                 investments in commercial real estate properties in Atlanta, Georgia
                 (" Atlanta Financial Center" ) and in approximately November 2022,
                 Miami Beach, Florida ("Lincoln Place").
           c. To raise funds for the investments, the Defendant made securities
                 offerings through the crowdfunding commercial real estate

                 investing website, CrowdStreet Marketplace, which was operated by
                 CrowdStreet, Inc. (" CrowdStreet").

                  1.   The Defendant, through Nightingale, executed agreements
                       with CrowdStreet to obtain investments in the Atlanta
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               Financial Center and Lincoln Place through the CrowdStreet

               Marketplace website.

         11.   Defendant sought investments from accredited investors by

               means of a private placement under Regulation D of the
               Securities Act of 1933 with a minimum investment per

               investor of $25,000.

     d. Atlanta Financial Center. The Defendant formed ONH AFC CS

       Investors LLC ("ONH AFC") as a real estate company whose sole

        purpose was to contribute equity to fund the purchase of the Atlanta

       Financial Center, a large commercial real estate complex in Atlanta,
       Georgia, located at 3333 Peachtree Road NE, 3343 Peachtree Road
       NE, and 3353 Peachtree Road NE.

          1.   The Defendant, through ONH AFC and other affiliates,

               planned to purchase and renovate the Atlanta Financial

               Center with, among other things, equity raised from investors
               inONHAFC.

         11.   On May 26, 2022, Nightingale launched the offering for ONH
               AFC on the CrowdStreet Marketplace, and investments were
               accepted until February 2023.
        111.   Under the Defendant's management, the initial goal was to

               raise $16 million for the Atlanta Financial Center project, but

               the Defendant ultimately raised approximately $54 million

               from approximately 654 investors with investments ranging in
               size from $25,000 to $1 million.
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     e. Lincoln Place. The Defendant formed ONH 1601 CS Investors LLC

        ("ONH 1601") as a real estate company whose sole purpose was to

       recapitalize and purchase equity interests in Lincoln Place, a mixed-

       use building in Miami Beach, Florida, located at 1601 Washington

       Avenue, 1605 Washington Avenue, and 1619 Washington Avenue.

          1.   The Defendant, through ONH 1601 and other affiliates,

               planned to provide a large renovation investment in Lincoln
               Place with, among other things, equity raised from investors

               inONH1601.

         11.   On November 1, 2022, Nightingale launched the offering for

               ONH 1601 on the CrowdStreet Marketplace, and investments

               were accepted until March 2023.
        m.     Under the Defendant's management, the initial goal was to

               raise $15 million for the Lincoln Place project, but the

               Defendant ultimately raised approximately $8.8 million from
               approximately 167 investors with investments ranging in size

               from $25,000 to $500,000.
    f. The Defendant raised, in total, approximately $62.8 million through
       CrowdStreet from investors in the Atlanta Financial Center and
       Lincoln Place. Under the Defendant's agreement with CrowdStreet,

       the funds raised from investors were to be held in segregated bank

       accounts, which were controlled by the Defendant, until the closing

       of each respective project.



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          i.   In addition, in the Private Placement Memoranda for the two

               investments, which were provided to investors, stated that

               " [t]he proceeds from this Offering will be used to purchase,
               lease, reposition, and extensively renovate" the properties.

         11.   The Subscription Agreements for each investment stated that

               the Defendant, through ONH AFC and ONH 1601, would

               only "use any proceeds from this Offering, net of any

               organizational and offering expenses, to fund" the investment

               in each property.

        iii.   The Operating Agreements for each investment further

               provided that the Defendant had a fiduciary duty to
               safeguard the funds and prohibit commingling or use of the

               money that did not benefit ONH AFC and ONH 1601.

     g. Notwithstanding these representations and restrictions on the use of

        funds, and before either transaction closed, the Defendant
        misappropriated and converted the funds raised through
        CrowdStreet.

     h. By June 2023, the Defendant had transferred (or caused to be
        transferred) substantially all of the money raised through
        CrowdStreet for the Atlanta Financial Center and Lincoln Place

        investments out of the segregated bank accounts, including by

        directing money to his personal bank account, personal brokerage

        account, and accounts for other, unrelated commercial real estate

        investments affiliated with, and controlled by, the Defendant.
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          1.   For example, on March 13, 2023, the Defendant transferred

               $1 million from the segregated bank account for the ONH

               AFC CrowdStreet investors (ending in x6789) to Business
               Bank Account #1 (ending in x2469), which was controlled by
               the Defendant.
                  1. Later on March 13, 2023, from Business Bank
                     Account #1, the Defendant transferred $350,000 to
                     Business Bank Account #2 (ending in x7082), which was

                     controlled by the Defendant, and the Defendant used
                     the funds to purchase luxury watches. For example, on
                     March 15, 2023, the Defendant caused a wire transfer of
                     $30,000 to be sent using interstate wires from Business
                     Bank Account #2 to an account with an address in

                     Texas for a watch seller that was based in California.
                  2. On March 14, 2023, from Business Bank Account #1, the
                     Defendant transferred $500,000 to Business Bank
                     Account #3 (ending in x4196), which was controlled by
                     the Defendant, and the Defendant used the funds to pay
                     payroll expenses for his commercial real estate
                     businesses.

         11.   As a second example, on March 15, March 21, and March 23,

               2023, the Defendant transferred $4.2 million, $7.205 million,
               and $750,000, respectively (in total, $12.155 million), from the

               segregated bank account for the ONH AFC CrowdStreet
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                      investors to Brokerage Account #1 (ending in x7009), which

                     was an investment brokerage account controlled by the

                     Defendant.
                        1. Between March 13 and March 17, 2023, the Defendant
                              had purchased a series of different stocks and call

                              options in Brokerage Account #1, totaling

                              approximately $12.153 million, including the purchase
                              of 288,340 shares of First Republic Bank (at a cost of

                              $20.537 and $22.56 per share, for a total cost of over
                              $6 million), 265 First Republic Bank 05/19/23 $25 call

                              options (at a cost of $1,501.199 per contract, for a total
                              cost of over $397,000) and 250,000 shares of Credit

                              Suisse (at a cost of $2.03 per share, for a total cost of

                              over $507,000).

           1.   In mid-July 2023, ONH AFC and ONH 1601 filed for Chapter 11
                bankruptcy.

                     Sentencing Guidelines Recommendations

13.     Based upon the evidence currently known to the Government, the

        Government agrees to make the following recommendations and/ or to

        enter into the following stipulations.

Base/Adjusted Offense Level

14.     The Government agrees to recommend and the Defendant agrees that:




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           a. The applicable offense guideline is U.S.S.G. § 2Bl .1, which
              establishes a base offense level of 7 because the offense of conviction

              has a statutory maximum term of imprisonment of 20 years or more.

           b. The amount of loss resulting from the offense of conviction and all

              relevant conduct is more than $25,000,000 but less than $65,000,000,

              which results in a 22-level increase pursuant to U.S.S.G.

              § 2Bl.l(b)(l)(L).

           c. The offense of conviction involved 10 or more victims, which results

              in a 2-level increase pursuant to U.S.S.G. § 2Bl.l(b)(2)(A).
Acceptance of Responsibility

15.     The Government will recommend that the Defendant receive an offense

        level adjustment for acceptance of responsibility, pursuant to U.S.S.G.

        § 3El .l, to the maximum extent authorized by the guideline. However, the

        Government will not be required to recommend acceptance of
        responsibility if, after entering this Plea Agreement, the Defendant
        engages in conduct inconsistent with accepting responsibility. Thus, by
        way of example only, should the Defendant falsely deny or falsely attempt

        to minimize the Defendant's involvement in relevant offense conduct, give

        conflicting statements about the Defendant's involvement, fail to pay the
        special assessment, fail to meet any of the obligations set forth in the

        Financial Cooperation Provisions set forth below, or participate in

        additional criminal conduct, including unlawful personal use of a

        controlled substance, the Government will not be required to recommend

        an adjustment for acceptance of responsibility.
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                Right to Answer Questions, Correct Misstatements,
                           and Make Recommendations

16.     The parties reserve the right to inform the Court and the Probation Office

        of all facts and circumstances regarding the Defendant and this case, and

        to respond to any questions from the Court and the Probation Office and

        to correct any misstatements of fact or law. Except as expressly stated

        elsewhere in this Plea Agreement, the parties also reserve the right to make

        recommendations regarding the application of the Sentencing Guidelines.

        The parties understand, acknowledge, and agree that there are no

        agreements between the parties with respect to any Sentencing Guidelines

        issues other than those specifically listed.

                         Right to Modify Recommendations

17.     With regard to the Government's recommendation as to any specific

        application of the Sentencing Guidelines as set forth elsewhere in this Plea

        Agreement, the Defendant understands and agrees that, should the
        Government obtain or receive additional evidence concerning the facts

        underlying any such recommendation, the Government will bring that

        evidence to the attention of the Court and the Probation Office. In

        addition, if the additional evidence is sufficient to support a finding of a
        different application of the Guidelines, the Government will not be bound

        to make the recommendation set forth elsewhere in this Plea Agreement,

        and the failure to do so will not constitute a violation of this Plea

        Agreement.



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                            Sentencing Recommendations

18.      Unless the Defendant engages in conduct inconsistent with accepting

        responsibility, as described more fully in the" Acceptance of

        Responsibility" paragraph above, the Government agrees to recommend
        that the Defendant be sentenced at the low-end of the Sentencing

        Guidelines range and may recommend a period of supervised release to

        follow . The Government agrees that the Defendant has reserved the right

        to seek a sentence below the Sentencing Guidelines range based upon

        factors to be considered in imposing a sentence pursuant to 18 U.S.C.
         § 3553(a).

Fine--Recommendation as to Amount

19.     Based on the information currently available to it, and in light of the

        Defendant's restitution obligations, the Government agrees to recommend

        that the Defendant does not have the financial resources to pay a fine.
Restitution

20.     The Defendant agrees to pay full restitution, plus applicable interest, to the
        Clerk of Court for distribution to all victims of the offense to which he is
        pleading guilty and all relevant conduct, including, but not limited to, any
        counts dismissed as a result of this Plea Agreement. The Defendant

        understands that the amount of restitution owed to each victim will be

        determined at or before sentencing. The Defendant also agrees to

        cooperate fully in the investigation of the amount of restitution, the

        identification of victims, and the recovery of restitution for victims.

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21.     The Government and the Defendant agree that any restitution order in this

        case can be satisfied, in whole or in part, through payments made to

        victims in connection with the liquidation of the Defendant's assets in the

        bankruptcy proceeding, In re ONH AFC CS Investors LLC, 23-bk-10931

         (D. Del.) (the "Bankruptcy").

22.     When the Bankruptcy closes, the parties understand that the Bankruptcy

        Liquidating Trustee will provide the Clerk of Court for the Northern

        District of Georgia with a report that contains a list of investors in ONH

        AFC and ONH 1601; their mailing address; and all funds that were

        distributed to each investor through the Bankruptcy. Pursuant to 18 U.S.C.

        § 36640)(2), the parties agree that the ordered restitution shall be reduced

        by amounts recovered as compensatory damages for the same loss by a

        victim to whom the Defendant is ordered to pay restitution at sentencing,

        including recoveries documented subsequent to the conclusion of any

        proceedings in this case such as payments made by the Bankruptcy
        Liquidating Trustee to a victim in this case. The Defendant agrees that in

        the event the payments made by the Bankruptcy Liquidating Trustee are

        insufficient to satisfy his entire restitution obligation to each victim, the

        Defendant is liable for the remaining restitution owed to victims, which
        will be due and payable immediately.

Forfeiture

23.     The Government agrees not to seek forfeiture of the Defendant's property

        in connection with this case in favor of restitution.


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                           Financial Cooperation Provisions
Special Assessment

24.      The Defendant agrees that he will pay a special assessment in the amount

         of $100 by money order or certified check made payable to the Clerk of
         Court, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive SW,

         Atlanta, Georgia 30303, by the day of sentencing. The Defendant agrees to
         provide proof of such payment to the undersigned Assistant United States

         Attorney upon payment thereof.
Fine/Restitution - Terms of Payment

25.      The Defendant agrees to pay any fine and/ or restitution, plus applicable
         interest, imposed by the Court to the Clerk of Court for eventual

         disbursement to the appropriate account and/ or victim(s). The Defendant

         also agrees that the full fine and/ or restitution amount shall be considered
         due and payable immediately. If the Defendant cannot pay the full amount
        immediately and is placed in custody or under the supervision of the
        Probation Office at any time, he agrees that the custodial agency and the
        Probation Office will have the authority to establish payment schedules to
        ensure payment of the fine and/ or restitution. The Defendant understands
        that this payment schedule represents a minimum obligation and that,
        should the Defendant's financial situation establish that he is able to pay
        more toward the fine and/ or restitution, the Government is entitled to

        pursue other sources of recovery of the fine and/ or restitution. The

        Defendant further agrees to cooperate fully in efforts to collect the fine

        and/ or restitution obligation by any legal means the Government deems

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         appropriate. Finally, the Defendant and his counsel agree that the

         Government may contact the Defendant regarding the collection of any

         fine and/ or restitution without notifying and outside the presence of his
         counsel.
Financial Disclosure

26.      The Defendant agrees that the Defendant will not sell, hide, waste,

         encumber, destroy, or otherwise devalue any such asset worth more than

         $10,000 before sentencing, without the prior approval of the Government.

        The Defendant understands and agrees that the Defendant's failure to

        comply with this provision of the Plea Agreement should result in the

        Defendant receiving no credit for acceptance of responsibility.
27.     The Defendant agrees to cooperate fully in the investigation of the amount

        of forfeiture, restitution, and fine; the identification of funds and assets in

        which he has any legal or equitable interest to be applied toward

        forfeiture, restitution, and/ or fine; and the prompt payment of restitution
        or a fine.
28.     The Defendant's cooperation obligations include: (A) fully and truthfully

        completing the Department of Justice's Financial Statement of Debtor
        form, and any addenda to said form deemed necessary by the

        Government, within ten days of the change of plea hearing; (B) submitting

        to a financial deposition or interview (should the Government deem it

        necessary) prior to sentencing regarding the subject matter of said form;

        (C) providing any documentation within his possession or control

        requested by the Government regarding his financial condition and that of
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         his household; (D) fully and truthfully answering all questions regarding

         his past and present financial condition and that of his household in such
         interview(s); and (E) providing a waiver of his privacy protections to

         permit the Government to access his credit report and tax information held

        by the Internal Revenue Service.

29.     So long as the Defendant is completely truthful, the Government agrees

         that anything related by the Defendant during his financial interview or

         deposition or in the financial forms described above cannot and will not be
        used against him in the Government's criminal prosecution. However, the

        Government may use the Defendant's statements to identify and to

        execute upon assets to be applied to the fine and/ or restitution in this case.

        Further, the Government is completely free to pursue any and all

        investigative leads derived in any way from the

        interview(s)/ deposition(s)/financial forms, which could result in the
        acquisition of evidence admissible against the Defendant in subsequent
        proceedings. If the Defendant subsequently takes a position in any legal
        proceeding that is inconsistent with the

        interview(s)/ deposition(s)/financial forms-whether in pleadings, oral
        argument, witness testimony, documentary evidence, questioning of

        witnesses, or any other manner-the Government may use the Defendant's

        interview(s)/ deposition(s)/ financial forms, and all evidence obtained

        directly or indirectly therefrom, in any responsive pleading and argument

        and for cross-examination, impeachment, or rebuttal evidence. Further, the

        Government may also use the Defendant's
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        interview(s)/ deposition(s)/financial forms to respond to arguments made

        or issues raised sua sponte by the Magistrate or District Court.

                   Recommendations/Stipulations Non-binding

30.     The Defendant understands and agrees that the recommendations of the

        Government incorporated within this Plea Agreement, as well as any

        stipulations of fact or guideline computations incorporated within this

        Plea Agreement or otherwise discussed between the parties, are not

        binding on the Court and that the Court's failure to accept one or more of

        the recommendations, stipulations, and/ or guideline computations will

        not constitute grounds to withdraw his guilty plea or to claim a breach of
        this Plea Agreement.

                               Limited Waiver of Appeal

31.     LIMITED WAIVER OF APPEAL: To the maximum extent permitted by

        federal law, the Defendant voluntarily and expressly waives the right to

        appeal his conviction and sentence and the right to collaterally attack his

        conviction and sentence in any post-conviction proceeding (including, but
        not limited to, motions filed pursuant to 28 U.S.C. § 2255) on any ground,

        except that the Defendant may file a direct appeal of an upward departure
        or upward variance above the sentencing guideline range as calculated by

        the District Court. Claims that the Defendant's counsel rendered

        constitutionally ineffective assistance are excepted from this waiver. The

        Defendant understands that this Plea Agreement does not limit the

        Government's right to appeal, but if the Government initiates a direct


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        appeal of the sentence imposed, the Defendant may file a cross-appeal of

        that same sentence.

                               Miscellaneous Waivers
FOi.A/Privacy Act Waiver

32.     The Defendant hereby waives all rights, whether asserted directly or by a

        representative, to request or receive from any department or agency of the

        United States any records pertaining to the investigation or prosecution of

        this case, including, without limitation, any records that may be sought

        under the Freedom of Information Act, Title 5, United States Code, Section

        552, or the Privacy Act of 1974, Title 5, United States Code, Section 552a.

                              BOP Designation Request

33.     The Government agrees not to oppose a designation request by the

        Defendant at his sentencing hearing for the Court to recommend that any

        term of incarceration imposed by the Court be served at the Federal

        Bureau of Prisons ("BOP") facility at FCI Otisville. The Defendant

        acknowledges and understands, however, that the designation decision

        rests in the sole discretion of the BOP.

                                No Other Agreements

34.     There are no other agreements, promises, representations, or

        understandings between the Defendant and the Government.


In Open Court this _ __        day of _ _ _ _ _ _ _ _ _ _~ __ _ _ __




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SIGATURE(Defendant's Attorney)            SIGNATURE (Defendant)
Colin Garrett                             Elchonon Schwartz



SIGATURE (Assistant U.S. Attorney)
Kelly K. Connors



SIGNATURE (Trial Attorney, Department of Justice)
Matthew F. Sullivan



SIGNATURE (Approving Official)
Stephen H. McClain




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   I have read the Information against me and have discussed it with my

attorney. I understand the charges and the elements of each charge that the

Government would have to prove to convict me at a trial. I have read the

foregoing Plea Agreement and have carefully reviewed every part of it with my

attorney. I understand the terms and conditions contained in the Plea

Agreement, and I voluntarily agree to them. I also have discussed with my

attorney the rights I may have to appeal or challenge my conviction and

sentence, and I understand that the appeal waiver contained in the Plea

Agreement will prevent me, with the narrow exceptions stated, from appealing

my conviction and sentence or challenging my conviction and sentence in any

post-conviction proceeding. No one has threatened or forced me to plead guilty,

and no promises or inducements have been made to me other than those

discussed in the Plea Agreement. The discussions between my attorney and the

Government toward reaching a negotiated plea in this case took place with my

permission. I am fully satisfied with the representation provided to me by my

attorney in this case.



SIGNATURE (Defendant)                       DATE
Elchonon Schwartz




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   I am Elchonon Schwartz's lawyer. I have carefully reviewed the charges and

the Plea Agreement with my client. To my knowledge, my client is making an

informed and voluntary decision to plead guilty and to enter into the Plea




                                                   1      1
                                            DATE
Colin Garrett


Colin Garrett
Federal Defender Program
101 Marietta St. NW, Suite 1500
Atlanta, GA 30303
(404) 688-7530


Filed in Open Court

This _   day of - - ~ 2025


By ____ ______ _




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                             U. S. DEPARTMENT OF JUSTICE
                        Statement of Special Assessment Account
    This statement reflects your special assessment only. There may be other
    penalties imposed at sentencing.


I                             ACCOUNT INFORMATION
    CRIMINAL ACTION NO.:         1:24-CR-00371-SDG
    DEFENDANT'S NAME:            ELCHONON SCHWARTZ
    PAY THIS AMOUNT:             $100

    Instructions:
       1. Payment must be made by certified check or money order payable to:
                           Clerk of Court, U.S. District Court
                         *personal checks will not be accepted*
       2. Payment must be made to the clerk's office by the day of sentencing.
       3. Payment should be sent or hand delivered to:
                             Clerk, U .S. District Court
                             2211 U.S. Courthouse
                             75 Ted Turner Drive SW
                             Atlanta, Georgia 30303
                             (Do Not Send Cash)
       4. Include the defendant's name on certified check or money order.
       5. Enclose this coupon to insure proper and prompt application of payment.
       6. Provide proof of payment to the above-signed AUSA within 30 days of the
          guilty plea.




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